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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



  UNITED STATES,

                         Plaintiff,
                                                                   19 Cr. 0561 (LAP)
           v.

  STEVEN DONZIGER,

                         Defendant.




                                      NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the accompanying Declaration of Martin Garbus,

the Memorandum of Law in Support, and all prior proceedings herein, the defendant will move

this court, as soon as counsel can be heard, for an order:

       (1) dismissing the case on the grounds of vindictive and selective prosecution; or in the
           alternative

       (2) dismissing the case on the grounds of the unconstitutional use of Fed. R. Crim. P. 42,
           as applied; or in the alternative

       (3) authorizing discovery and directing the parties to confer on an expedited discovery plan
           that will provide the defense with the requested information and deposition testimony
           in advance of trial; and

       (4) recusing the presiding judge and directing that another judge of this court be selected
           by random assignment.
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DATED: April 12, 2021              Respectfully submitted,

                                       /s
                                   Martin Garbus, Esq.
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